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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ANTHONY RAYE HOSKINS, SR., NO. CV 20-1070-JGB (AGR)
Plaintiff,
V. ORDER OF DISMISSAL
V. HARO, et al.,
Defendants.

 

On February 26, 2021, the Court dismissed Plaintiffs Complaint with leave
to file a First Amended Complaint within 30 days after entry of the order
consistent with the Magistrate Judge’s recommendation. The Court warned
Plaintiff that if he chose not to file a timely First Amended Complaint, this action
will be dismissed. (Dkt. No. 39.) Plaintiff failed to file a First Amended Complaint
or request an extension of time to do so.

Accordingly, IT IS ORDERED that this action is DISMISSED and that
judgment be entered for Defendants.

IT IS SO ORDERED.
- 1 AL
Jnited States District Judge

 
 

DATED: April 22, 2021

 

 
